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AO 458 (Rev, 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

for the
United States of America )
Plaintiff )
V. ) Case No. 21-cr-1 28(RC)
Michael Pope )
Defendant )
APPEARANCE OF COUNSEL

To:  Theclerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

Michael Pope
Date: January 12, 2024
iS Attorney's signature

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